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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION




PARKWAY FOX, L.P.,
 D/B/A PARKWAY VILLAGE WEST,

       Plaintiff,

v.                                                               Cv. No. 13-2567-JTF-dkv


MASSACHUSETTS BAY
INSURANCE COMPANY,


       Defendant.



                                      JUDGMENT

       Decision by Court. This action came for consideration before the Court. The issues have
been duly considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that this action is dismissed with prejudice in
accordance with the Motion to Voluntarily Dismiss filed by Plaintiff on March 24, 2015 and the
Order of Dismissal with Prejudice docketed March 24, 2015.



APPROVED:

s/John T. Fowlkes, Jr.
JOHN T. FOWLKES, JR.                              THOMAS M. GOULD
UNITED STATES DISTRICT JUDGE                      CLERK

March 24, 2015                                    s/Lorri Fentress
DATE                                              (By) LAW CLERK
